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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                      Miami Division

                            CASE NO.: _____________________

  FRANCOIS ALEXANDRE
      Plaintiff,

  vs.

  CITY OF MIAMI, JOSUE HERRERA,
  JAVIER ORTIZ, RUBEN ROJAS, MAGDIEL
  PEREZ, FIVE UNIDENTIFIED CITY OF MIAMI POLICE
  OFFICERS AND CHIEF OF POLICE
  RODOLFO LLANES

       Defendants.
  _______________________________/

                                COMPLAINT FOR DAMAGES

         The Plaintiff, FRANCOIS ALEXANDRE, sues Defendants CITY OF MIAMI,

  MIAMI POLICE OFFICERS JOSUE HERRERA, MAGDIEL PEREZ, JAVIER ORTIZ,

  RUBEN ROJAS, FIVE UNIDENTIFIED CITY OF MIAMI POLICE OFFICERS and Chief

  of Police RODOLFO LLANES for compensatory and punitive damages and states as

  follows:

                                          Jurisdiction

         1)     This is an action pursuant to Title 42 U.S.C. § 1983 for violation of

  Plaintiff’s constitutional rights and privileges by the Defendants who were acting under

  color of Florida Law at all times material hereto, for false arrest, for battery and violation

  of Plaintiff’s right to free speech and to peaceably assemble.

         2)     This Court has original jurisdiction over the parties in and for count 1, the

  violation of civil rights claim for false arrest, Count 2, violation of civil rights claim re:

  excessive force and in Count 3, violation of Plaintiff’s right to free speech and to
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  peaceably assemble. It has pendant jurisdiction over counts 4 and 5 since these counts

  are related to and arise out of the same fact pattern as Counts 1, 2 and 3.

                                    General Allegations, the Parties and Venue

             3)         Plaintiff has retained the services of the undersigned law firm and agreed

  to pay a reasonable fee therefore.

             4)         All conditions precedent to both this action and the right to collect

  attorney’s fees have occurred, been waived, or rendered impossible of performance by

  Defendants, their agents or representatives.

             5)         Plaintiff, a citizen and resident of Miami-Dade County, Florida and the

  United States of America, did not consent to the violation of his civil rights, including his

  right to peaceably assemble and to free speech, to be free from illegal seizure, to be

  secure in his person and to be free from physical attack and the use of unreasonable

  force.

             6)         Plaintiff was wrongfully attacked and arrested in Miami, Miami-Dade

  County, in the Southern District of Florida on June 21, 2013.

             7)         Defendant Officer Josue Herrera, at all times material hereto, was an

  employee of Defendant City of Miami Police Department located in Miami-Dade County,

  Florida.

             8)         Defendant Officer Javier Ortiz, at all times material hereto, was an

  employee of Defendant City of Miami Police Department located in Miami-Dade County,

  Florida.

             10)        Defendant Officer Ruben Rojas, at all times material hereto, was an

  employee of Defendant City of Miami Police Department located in Miami-Dade County,

  Florida.
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             11)        Defendant Officer Magdiel Perez, at all times material hereto, was an

  employee of Defendant City of Miami Police Department located in Miami-Dade County,

  Florida.

             12)        Each of the five (5) unidentified Police officers who attacked Plaintiff, all

  defendants herein, were, at all times material hereto, employees of Defendant City Of

  Miami Police Department located in Miami-Dade County, Florida.

             13)        Defendant City Of Miami is a Political Subdivision of the State of Florida

  located in Miami-Dade County, Florida.

             14)         All Defendant Officers, named or unidentified, were acting within the

  course and scope of their employment, or acting on behalf of and for the benefit of

  Defendant City of Miami at all times material hereto.

             15)        All Defendant Officers, named or unidentified, at all times material hereto,

  were acting in bad faith or with malicious purpose, or in a manner exhibiting wanton and

  willful disregard for human rights, safety or property.

                                            FACTUAL ALLEGATIONS,

             16)         Plaintiff was lawfully walking on and around the public streets and

  sidewalks adjacent to the apartment building where he was living in downtown Miami

  during the early morning hours of June 21, 2013.

             17)        There were approximately 20 people in the area, all of whom were

  peaceably celebrating the stirring 2013 Miami Heat NBA world championship which was

  won at the American Airlines Arena a few blocks away on the night in question. No

  traffic was being blocked. No property or people were being threatened.

             18)        Defendant City of Miami had numerous police officers, including the

  individual defendants, named and unidentified, on duty in the area.
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             19)        Plaintiff was celebrating the victory, with others, when the individual

  defendants and other officers began shouting and ordering everyone to clear the street,

  telling them to get onto the sidewalks on either side of the street.

             20)         A group of approximately eight (8) officers, dressed as bicycle patrol

  officers and carrying bicycles held across their respective chests as shields, arranged

  themselves so that they completely blocked the street and sidewalks from one building

  wall to the other. The officers began marching down the street and sidewalks in unison

  forming a shield wall with their bicycles which they used force Plaintiff and others

  backwards. Plaintiff alleges upon information and belief that all or some of the

  Defendants herein were among this group of officers.

             21).       Plaintiff objected to the police conduct, explaining that he, as a taxpayer,

  had rights

             22)        Plaintiff and the other civilians were peacefully backing up in response to

  the police force when the police knocked a woman down who had been standing next

  to Plaintiff, at which time he began to loudly berate the police for their uncalled for

  violence.

             23)        Suddenly and without provocation an officer ran at Plaintiff and violently

  tackled him by “clotheslining” him with an arm around his throat. Plaintiff, taken

  completely unawares, was violently thrown down and dragged by his neck into an

  alcove formed by a doorway and entrance into his apartment building. The alcove

  effectively trapped Plaintiff, so that he was easy to pin down and restrain, and kept him,

  and the beating he sustained, shielded from view.

             24)        Five defendant Miami officers, some of whom may be named and some of

  whom may be unidentified, then jumped onto Plaintiff, who was laying face down
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  virtually motionless. Plaintiff, in a very calm voice, explained that he was not “doing

  anything.” Nevertheless the defendants kept beating Plaintiff.

             25)        Another Defendant officer ran up, extending his metal baton in preparation

  for joining in the beating. Luckily for Plaintiff, that officer was unable to strike Plaintiff

  with the baton because Plaintiff was totally buried by officers who were inadvertently

  shielding Plaintiff from being struck with the baton. The beating continued for over two

  minutes while Plaintiff calmly pointed out that he was not resisting.

             26)         Plaintiff was roughly handcuffed while helpless and face down. As Plaintiff

  was manhandled to his feet and forcefully moved to a waiting police car one of the

  defendant officers who participated in the beating was taunting Plaintiff in retaliation for

  Plaintiff’s exercise of his right to free speech, mocking Plaintiff for his statements about

  his rights as a taxpayer, his right to be present on the sidewalk and the fact that the

  blood on Plaintiff’s face from the beating looked like lipstick, equating Plaintiff to a girl,

  coward or weakling.

             27)        Plaintiff was taken to the City Of Miami Police Station for transport for

  processing to Turner-Guilford Knight, (TGK), a jail. However Plaintiff was so severely

  beaten that the transporting officer refused to take Plaintiff to TGK as requested but

  instead took him to Jackson Memorial Hospital for medical attention. From there Plaintiff

  was taken to Bascom-Palmer eye hospital due to the severity of his injuries, which

  included a fractured orbital bone in his left eye socket.

             28)         Defendant City of Miami, upon information and belief, trains its officers to

  line up in formation with their bicycles and form a “human wall” in such fashion as

  alleged herein as a means of crowd control. Alternatively Defendant City of Miami knew

  or should have known that its officers would act in such fashion. Further the use of such
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  a formation is solely to forcibly move people which actions served only to unnecessarily

  inflame people.

             29)        Plaintiff was never unruly nor did he incite the crowd to unlawful action. No

  one was violent or out of hand before or after the police attack on Plaintiff. No property

  was in danger of being destroyed or vandalized.

             30)        Defendant Magdiel Perez, in concert with co-defendant officers,

  thereafter falsely and maliciously misrepresented the facts surrounding the Plaintiff’s

  arrest in the arrest affidavit (commonly known as a police report) prepared in an attempt

  to justify and cover up Plaintiff’s savage beating and subsequent false arrest.

             31)        Plaintiff was arrested and charged with incitement to riot, a third degree

  felony carrying a maximum penalty of five (5) years in state prison and resisting an

  officer without violence, a first degree misdemeanor, carrying a maximum penalty of one

  (1) year in county jail.

             32)        The State Attorney’s Office declined to file either charge for which Plaintiff

  was arrested, noting in its close out memo that there was insufficient evidence for either

  charge, despite the false arrest affidavit.

             33)        All individual Defendants, save for Defendant LLanes, acted with evil

  intent or motive and with a reckless and callous indifference to Plaintiff’s 4th and 1st

  Amendment rights as set forth herein, when all Defendants savagely and without cause

  beat Plaintiff and then engaged in a calculated scheme of lies to cover and excuse their

  conduct.

             34)        Plaintiff sustained physical, mental and emotional injury as well as

  economic loss as a result of the numerous violations of his civil rights, the attack upon

  him, and the subsequent false arrest and detention.
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                                              Demand For Jury Trial

             35)        Plaintiff hereby demands trial by jury of all counts alleged herein.

                                                      Count I
                                        Violation of Constitutional or Civil Rights
                                                   Unlawful Arrest

             36)        Plaintiff repeats and re-alleges Paragraphs 1 through 34 as if set forth

  herein.

             37)        All individual Defendants, whether named or unidentified, employed by the

  City of Miami Police Department and acting under color of State law, unlawfully arrested

  Plaintiff as there was no probable cause or arguable probable cause to arrest Plaintiff

  for any offense.

             38)        All individual Defendants, whether named or unknown, knew or should

  have known that the arrest of Plaintiff under the circumstances outlined herein was in

  violation of his constitutional rights and was otherwise illegal because Plaintiff’s arrest

  was unsupported by arguable probable cause.

             39)        The arrest of Plaintiff under the circumstances outlined herein violated

  Plaintiff’s clearly established Constitutional Rights as guaranteed by the Constitution,

  and the First and Fourth Amendments to the United States Constitution as made

  applicable to the states via the 14th Amendment.

             40)        There was no warrant issued for Plaintiff’s arrest nor was Plaintiff ever

  informed of the alleged grounds for his arrest prior to his receipt of the arrest affidavit.

             41)        The workplace culture and day to day operation of the City of Miami Police

  Department, as tolerated and allowed by the command structure, approved and

  encouraged the illegal and dangerous behavior of its officers, including all individual

  Defendants as alleged herein, to violently and viciously attack Plaintiff under the guise
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  of crowd control, without regard for recognized legal standards or the constitutional

  rights of Plaintiff herein.

             42)        Plaintiff was damaged as a result of being falsely arrested in violation of

  his Constitutional Rights including but not limited to his unlawful seizure, subsequent

  detention, loss of income, and expenses incurred as a result of his arrest, including

  expenses of bond and attorney’s fees, medical care, damage to his reputation, physical

  injury, and mental and emotional pain and suffering.

             WHEREFORE Plaintiff demands judgment against all individual Defendants for

  monetary damages including attorney’s fees incurred herein, costs, medical bills, pain

  and suffering, mental and emotional damage, for punitive damages, and for such other

  and further relief as is determined to be just and proper.

                                                     Count 2
                                   Violation of Constitutional or Civil Rights
                                                 Excessive Force

             43)        Plaintiff repeats and re-alleges Paragraphs 1 through 34 as if set forth

  herein.

             44)        All individual Defendants, whether named or unknown, employed by the

  City of Miami Police Department and acting under color of State law, used excessive

  and unreasonable force before, during and after arresting Plaintiff, whether the arrest

  was lawful or not.

             45)        Plaintiff was damaged as a result of being the victim of excessive and

  unreasonable force in violation of his Constitutional Rights including but not limited to

  his loss of income, expenses for medical care, damage to his reputation, physical injury,

  and mental and emotional pain and suffering.
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             WHEREFORE Plaintiff demands judgment against all individual Defendants for

  monetary damages including attorney’s fees incurred herein, costs, punitive damages

  and for such other and further relief as is determined to be just and proper.

                                                      Count 3
                                   Violation of Constitutional or Civil Rights
                                           Right to Peaceably Assemble

             46)        Plaintiff repeats and re-alleges Paragraphs 1 through 34 as if set forth

  herein.

             47)        Plaintiff, at all times material hereto, was exercising his right to peaceably

  assemble and to free speech as protected by the First Amendment as made applicable

  to the States by the Fourteenth Amendment.

             48)         All individual Defendants, whether named or unidentified and other City of

  Miami police officers, acting under color of State law, violated Plaintiff’s right to

  peaceably assemble by illegally and brutally silencing Plaintiff and then arresting him

  on trumped up charges.

             49)        The Defendant police officers forcefully silenced Plaintiff when they

  physically attacked him thereby adversely affecting his protected speech and right to

  assemble.

             50)        The unlawful attack on Plaintiff by Defendant officers, as was clear by the

  officer’s taunting comments after the attack, was in retaliation for Plaintiff exercising his

  right to free speech and to assemble, and for daring to criticize the police actions in

  public.

             51)        The unlawful attack on Plaintiff by Defendant Officers forced Plaintiff to

  stop speaking thereby preventing Plaintiff from exercising his right to free speech.
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             52)        Plaintiff was damaged as a result of the violation of his protected right to

  peacefully assemble and to freedom of speech when he was unlawfully beaten, seized

  and detained, incurring a loss of income, expenses incurred as a result of his arrest,

  including expenses of bond and attorney’s fees, medical care, damage to his reputation,

  physical injury, and mental and emotional pain and suffering.

             WHEREFORE Plaintiff demands judgment against all individual Defendants for

  monetary damages including attorney’s fees incurred herein, costs, for punitive

  damages and for such other and further relief as is determined to be just and proper.



                                                 Count 4
                                            Claim Against City

             53)        Plaintiff repeats and re-alleges Paragraphs 1 through 34 as if set forth

  herein.

             54)        At all times material hereto, all individual Defendants, whether named or

  unidentified, and the other City of Miami officers on scene even if they did not

  participant in the beating were acting under the direction and control of Defendants

  Rodolfo Llanes and Defendant City of Miami.

             55)        Acting under color of law and pursuant to official policy or custom

  Defendants Llanes and City of Miami knowingly, recklessly, or with deliberate

  indifference and callous disregard for Plaintiff’s rights, failed to instruct, supervise,

  control and discipline on a continuing basis the Defendant Police officers in their duties,

  including the Officers’ duty to refrain from:

             a. unlawfully and maliciously harassing Plaintiff (and others) who was acting in

  accord with his constitutional and statutory rights, privileges, and immunities at all times

  material hereto;
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             b. unlawfully and maliciously arresting, imprisoning and initiating baseless

  charges against Plaintiff who was acting in accordance with his constitutional and

  statutory rights, privileges, and immunities;

             c. unlawfully and maliciously beating Plaintiff or otherwise using unreasonable

  and excessive force before, during or after arresting Plaintiff whether said arrest was

  lawful or not;

             d. unlawfully, maliciously and forcefully silencing Plaintiff while he was publicly

  speaking and otherwise depriving Plaintiff of his constitutional and statutory rights,

  privileges, and immunities.

             56)        Defendants Chief of Police Rodolfo Llanes and City of Miami knew or

  should have known, had they properly and timely exercised their supervisory and

  training responsibilities, that all Defendant Officers and the other officers were

  substantially likely to deprive Plaintiff of his constitutional and statutory rights and further

  that said officers were going to assault and batter Plaintiff while doing so. Defendants

  Llanes         and City of Miami had the power to prevent or aid in the prevention of the

  Officers’ wrongful actions and could have done so by the exercise of reasonable

  diligence but knowingly, recklessly or with deliberate indifference and callous disregard

  of Plaintiff’s rights, failed or refused to do so.

             57)         Defendants Llanes and City of Miami directly or indirectly, under color of

  law, approved, ratified or tolerated the unlawful, deliberate, malicious and reckless

  conduct of Defendant Officers and the other Officers as previously alleged herein.

             58)        Plaintiff was damaged as a result of the actions and inactions of

  Defendants Llanes and City of Miami as alleged herein including but not limited to his

  unlawful seizure, subsequent detention, loss of income, and expenses incurred as a
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  result of his arrest, including expenses of bond and attorney’s fees, medical care,

  damage to his reputation, physical injury, and mental and emotional pain and suffering.

             WHEREFORE Plaintiff demands judgment against Defendant City of Miami for

  monetary damages including attorney’s fees incurred herein, costs, and for such other

  and further relief as is determined to be just and proper.

                                                  Count 5
                                                False Arrest

             59)        Plaintiff repeats and re alleges Paragraphs 1 through 34.

             60)        Plaintiff was wrongfully detained and arrested.       He was physically

  deprived of his freedom of movement, his liberty, and his right to privacy as guaranteed

  by the Federal and State constitutions.

             61)        Plaintiff was wrongfully restrained in his movements by Defendants Perez

  and the other defendant City of Miami police officers.

             62)         All individual Defendants, whether named or unidentified, and other City

  of Miami police officers were without probable cause, arguable probable cause or any

  lawful justification to arrest Plaintiff, or to restrain his freedom or detain him in any

  fashion.

             63)        Plaintiff has suffered damages as a direct result of his wrongful arrest

  including but not limited to physical injury and discomfort, mental suffering,

  embarrassment, humiliation, injury to his feelings and reputation, lost wages, and or

  income, the expenses of posting bail, and the costs of hiring an attorney.

             WHEREFORE Plaintiff demands Judgment against all individual Defendants for

  compensatory damages, costs, and for such other relief as the Court deems just and

  proper.
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                                                 Count 6
                                                 Battery

             64)       Plaintiff re-alleges paragraphs 1 through 34 above, and incorporates them

  into this Count.

             65)       All individual Defendants, whether named or unknown, and other City of

  Miami police officers intentionally inflicted harmful or offensive contact upon Plaintiff

  before, during or after he was arrested.

             66). The violent attack on Plaintiff by all individual Defendants, whether named or

  unknown, was excessive and unreasonable under the facts and circumstances, even if

  there was probable cause or arguable probable cause to arrest Plaintiff.

             67) All individual Defendants, whether named or unidentified, were acting within

  the course and scope of their employment, and were further acting in bad faith, with

  malicious purpose, and/or in a manner exhibiting wanton and willful disregard of human

  rights, safety and/or property when attacking Plaintiff.

             68)        As a direct and proximate result of the wrongful acts of all individual

  Defendants, whether named or unknown, and other City of Miami police officers as

  alleged, Plaintiff has suffered damages including but not limited to physical injury and

  discomfort, mental suffering, embarrassment, humiliation, medical expenses and injury

  to his feelings and reputation.

             WHEREFORE Plaintiff demands Judgment against all individual Defendants for

  compensatory damages, costs, and for such other relief as the Court deems just and

  proper.

                                         SIGNATURE PAGE FOLLOWS
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                                        Dated this 14th    day of July, 2016.

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  SIGNATURE PAGE
  ALEXANDRE V. CITY OF MIAMI, ET AL
